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 1                                                            The Honorable Marsha J. Pechman

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 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01731-MJP
   corporation,
11                                                  DECLARATION OF TOBIAS FIESER IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,

15                     Defendant.

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20                         [Remainder of page intentionally left blank]
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27 DECLARATION OF TOBIAS FIESER IN                                      FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01731-MJP)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT B
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